Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 1 of 67 Page ID #6
                                                                                                              ***EFI LED***
                                                                                              Case Number 20'81. 00i331
                                                                                                 Date: 1015/2018 11:07 AM
                                                                                                            Mark Von Nida
                                                                                                     Clerk of Circuit Court
                                                                           Thlad Judicial Ciccuit, MaiNson Coudy Moots
                                 IN THE CIRCUIT COURT
                                THIRD JUDICIAL CIRCUIT
                               MADISON COUNTY,ILLINOIS

   GEAROLD R.STINE                                                  2018L 001331
          Plaintiff,

  vs.                                                    Case No.      -

  HOMAN TRUCKING,LLC and
  IKE R. ROSE

          Defendants.

                                        COMPLAINT

                                           COUNT I

          Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

  defendants, Homan Trucking, LLC("HTL") and Ike R. Rose, states as follows:

          1.      That the plaintiff herein Gearold R. Stine, was in Madison County, Illinois,

  on November 16, 2016, when the collision herein occurred.

         2.       That the defendant, IITL, is a corporation with its principal place of

  business in Bonduel, Wisconsin. Said defendant regularly operates in Illinois and has ICC

  authority to operate in Illinois.

         3.      That the defendant, Ike R. Rose, was in Madison County in the State of

  Illinois at the aforesaid time and was operating a tractor trailer owned, registered •and/or

  under the logo or ICC numbers of defendant, HTL.

         4.      That at all times relevant hereto the defendant, Ike R. Rose ("Rose"), was

  acting in the scope of his duties as an employee and/or agent for HTL.




                                           Page 1 of 4
                                        Case No.                                                        EXHIBIT
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 2 of 67 Page ID #7




           5.       That at the above time and place in Madison County, Illinois the plaintiff

   was operating his motor vehicle in an easterly direction on 1-70 near the Highland, Illinois,

   rest area.

           6.       That at the aforesaid time and place the defendant, Rose, was operating a

   transport trailer to the rear of plaintiff and other vehicles.

           7.     . That at the aforesaid time and place the transport trailer operated by Rose

   bore the following logo/placard "Homan Trucking, LLC" and USDOT 761355.

           8.      That based upon the above the defendant, Rose, owed a duty to plaintiff to

   operate the tractor-trailer with due regard and care for the safety of plaintiff and others

   similarly situated.

          9.       That in violation of the aforesaid duty the defendant, Jackson, committed

   one or more ofthe following negligent acts or omissions:

                   a)      failed to keep a proper lookout;

                b)         failed to operate his vehicle at a reasonable speed in violation of625
   ILCS 5/11-606(a)

                   c)      failed to yield the right of way to plaintiff's vehicle
                           in violation of 625 ILCS 5/11-902;

                   d)      failed to keep a proper lookout;

                   e)      drove his automobile in a reckless manner in violation of625
                                  ILCS 5/11-503;

                   0       drove his automobile at a speed which is greater than is
                                  reasonable and proper with regard to traffic conditions and
                the use                          of the highway, or endangers the safety of
                any person or property                         in violation of625 ILCS
                5/11-601;

                   g)      failed to sound an audible horn warning in violation of625 ILCS
                                   5/12-601;
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 3 of 67 Page ID #8




                   h)     failed to reduce speed to avoid colliding with other vehicles in
                                  violation of625 ILCS 5/11-601;

                  i)      followed too closely the vehicle of Plaintiff and/or the vehicle in
                          front of him in violation of625 ILICS 5/11-710;

                  j)      engaged in distracting behavior such as using a wireless telephone
                          in or near construction zone in violation of625 ILCS 5/12-610.1(e)
                          and/or texting while driving in violation of625 ILCS 6/12610.2.


                 k)      operated a motor vehicle which was in such unsafe condition as to
   endanger the person or property of others in violation of625 ILCS 5/12-101; and/or

                )1        operated a motor vehicle without proper brakes in violation of 625
   ILCS 5/12-301


           10.    That as a direct and proximate result ofthe above, the vehicle operated by

   Rose collided with the vehicle operated by plaintiff, Gearold R. Stine. Plaintiff there and

   then experienced severe pain, suffering, mental anguish and property damage: Plaintiff

   has incurred and shall continue to incur medical charges. Plaintiff has lost wages and

   income and such losses continue. Plaintiff suffered loss ofnormal life. Plaintiff's pain and

   suffering continues. Further, Defendants' denial of liability has caused mental stress to

   Plaintiff. Plaintiff's injuries arc such that convalescent care may be required in the future.

           WHEREFORE, the plaintiff prays for a Judgment in his favor against the

   defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

   DOLLARS ($50,000.00) and for costs of this action.

                                            COUNT II

          1-10. Plaintiff repeats, realleges and incorporates herein by reference Paragraph

   1-10 of Count I as Paragraphs 1-10 of this Count.




                                             Page 3 of 4
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              .   That at all times relevant hereto one or both ofthe Defendants were aware

   the truck Rose was operating was in an unsafe condition and that the continued operation

   of that vehicle on interstate highways posed an extreme hazard to the motoring public in

   general.

          12.     That,notwithstanding the above, Rose continued to operate the truck on the

   interstate highway in a willful and wanton disregard ofthe safety of others. Rose engaged

   in such horrendous act to avoid calling for and incurring the cost of a wrecker and/or to

   avoid the downtime necessary to park the vehicle while awaiting repairs or towing.

  Defendants thereby placed their own concerns and/or the company's financial concerns

  over the safety of others in conscious disregard ofthe safety ofthe motoring public. HTL's

   manager(s) were aware ofsuch unsafe conditions.

          WHEREFORE, the plaintiff prays for a Judgment in his favor against the

   defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

  DOLLARS ($50,000.00) and for costs of this action. Plaintiff further seeks punitive

  damages for Defendants' behavior.

                                               Respectfully Submitted,

                                               WENDLER LAW,P.C.



                                        By:

                                               Brian M. Wendler #06196124
                                               Angie M. Zinzilieta #6322894
                                               Paul E.H. Rademacher #6324529
                                               900 Hillsboro, Suite 10
                                               Edwardsville, IL 62025
                                               Ph:(618)692-0011
                                               Fax:(618)692-0022
                                               Email: wendlerlawpc@gmai I,com




                                          Page 4 of4
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 5 of 67 Page ID #10
                                                                                                               ***EFILED***
                                                                                               Case Number 2018L 001331
                                                                                                  Date: 18051201'8 41.07 AA
                                                                                                             Mark Von Nida
                                                                                                      Clerk of Circuit Court
                                                                            Third Judicial Circuit, Madison County Illinois
                                 IN THE CIRCUIT COURT
                                THIRD JUDICIAL CIRCUIT
                               MADISON COUNTY,ILLINOIS

GEAROLD R.STINE
                                                                             2018L 001331
       Plaintiff,

vs.                                                  Case No.      -

HOMAN TRUCKING,LLC and
IKE R.ROSE

       Defendants.

                                 ENTRY OF APPEARANCE

       NOW COMES Brian M. Wendler, Angie Zinzilieta, and Paul Rademacher, of Wendler

Law,P.C., and enter their appearance on behalf of the Plaintiff, Gearold R. Stine.



                                                            Respectfully submitted,
                                                            WENDLER LAW,P.C.

                                                       Bx:j3ittat
                                                             rlan M. Wendler #6196124
                                                            Angie Zinzilieta, #6322894
                                                           Paul E.II. Rademacher #6324529
                                                           900 Hillsboro, Suite 10
                                                           Edwardsville, IL 62025
                                                           Ph: (618)692-0011
                                                            Fax: (618)692-0022
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 6 of 67 Page ID #11
                                                                                                              ***EFI LED***
                                                                                              Case Number 2018L, 001331
                                                                                                 Date: 1 015/2018 11:07 AM
                                                                                                            Mark Von Nida
                                                                                                     Clerk of Circuit Court
                                                                           Third Judicial Circuit, Madison County Illinois
                                IN THE CIRCUIT COURT
                               THIRD JUDICIAL CIRCUIT
                              MADISON COUNTY,ILLINOIS

 GEAROLD R.STINE
                                                                           2018L 001331
       Plaintiff,

 VS.                                                Case No.

HOMAN TRUCKING,LLC and
IKE R. ROSE

       Defendants.

                            CERTIFICATION OF CASE VALUE

       I, Brian M. Wendler, do hereby certify pursuant to the Supreme Court Rules that in my

estimation based upon a review ofthe facts available the value of this action exceeds $50,000.



                                                           Respectfully submitted,

                                                           WENDLER LAW,P.C.


                                                          A at1
                                                    By: Bft,
                                                         Brian M. Wendler #6196124
                                                         Angie M.Zinzilieta #6322894
                                                         Paul Rademacher #6324529
                                                         900 Hillsboro, Suite 10
                                                         Edwardsville,IL 62025
                                                         Phone:.(618)692441.1
                                                         Fax: (618)692-0022
                                                         Attorneysfor Plaintiff




                                          Page 1 of 1.
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                                 IN THE CIRCUIT COURT
                                THIRD JUDICIAL CIRCUIT
                               MADISON COUNTY,ILLINOIS

GEAROLD R.STINE

       Plaintiff,
                                                                     2018L 001331
vs.                                                   Case No.      -L-

HONIAN TRUCKING,LLC and
IKE R.ROSE
       Defendants.

                                           SUMMONS

To the defendant: HOMAN TRUCKING,LLC,N4632 Broadway Road, Bonduel, Wisconsin,
54107.

YOU ARE SUMMONED and required to file an answer in this case, or otherwise file your

appearance,in the office ofthe clerk of this court MADISON COUNTY, EDWARDSVILLE,

Illinois, within 30 days after service of this summons, not counting the day of service. IF YOU
FAIL TO DO SO,A JUDGMENT OR DECREE BY DEFAULT MAY BE TAKEN
AGAINST YOU FOR THE RELIEF ASKED IN THE COMPLAINT.

To the officer:

       This summons must be returned by the officer or other persons to whom it was given for
service, with indorsement of service and fees, if any,immediately after service. If service cannot
be made,this summons shall be returned so indorsed. This summons may not be served later
than 30 days after its date.
                               OS rr                         10/12/2018
                               ND            TN .SS                           ,20
                                                            Math Niftwrttider-

      (Seal of emit)                                               Clerk of Court
                                                           /s/ Donna Finch
                                                             Associate Circuit Cldrk-beplity
Name: Brian M. Wen
Attorney for: Gearold R.
                              autie
Address: 900 Hillsboro Ave., Sum
City: Edwardsville
Telephone: 618-692-0011

                               Date of Service:                                           20
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 8 of 67 Page ID #13




                           (To be inserted by officer on copy left with defendant or other person)

                                       SHERIFF'S FEES

                    Service and return
                     Miles
                    Total
                                     Sheriff of                       County
       I certify that I served this summons on defendants as follows:

  (a) - (Individual defendants - personal):
   By leaving a copy of the complaint with each individual defendant personally, as follows:
                      Name of Defendant                          Date of Service




   (b)- (Individual Defendants- abode):
    Byleaving a copy and a copy ofthe complaint at the usual place of abode of each individual
defendant with a person ofthe family, or a person residing there, ofthe age of 13 years or
upwards,informing that person ofthe contents ofthe summons, and also by sending a copy of
the summons and ofthe complaint in a sealed envelope with postage fully prepaid, addressed to
each individual defendant at his or her usual place of abode, as follows:
              Name of Defendant Person W/ Whom Left                     Date of Service    Date of
               Mailing




   (c) - (Individual Defendants- Personal):
    By leaving a copy and a copy ofthe complaint with the registered agent, officer or agent,
officer or agent of each defendant corporation, as follows:
        Defendant Corporation                Registered Agent, Officer or Agent       Date of
        Service
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 9 of 67 Page ID #14




      -(Other Service):

                                ,Sheriff of                       County


                   By                             ,Deputy
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                                    IN THE CIRCUIT COURT
                                   THIRD JUDICIAL CIRCUIT
                                  MADISON COUNTY,ILLINOIS                      NOV 1 9 1018
                                                                     CLERK OP CIRCUIT
   CEAROLD R. STINE                                                     NIRO'LOCAL COURT #11
                                                                      k4A0 $ON        CACUIT
          Plaintiff,                                                            COUNTY,R.1140#3
                                                                               •


   vs.                                                Case No. 2018-L-1331

   110MANTRUCKING,'LLC and                    )
   IKE R. ROSE                                )

          Defendants.                         )

                                              ORDER

          Plaintiff's Amended Motion For Leaye.To File Second Amended .Complai t is presented

   and granted.. The Second Amended Complaint is deemed filed. SumMons toissne to Homan &

   Company, Inc., and to A.13.C.D. Transportation Co., Inc.




                          Date.                                              Enter
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 11 of 67 Page ID #16




                                    1N THE CIRCUIT COURT
                                   THIRD JUDICIAL CIRCUIT
                                  MADISON COUNTY,ILLLNOIS

      GEAROLD R. STINE                            )

              Plaintiff,

      vs.                                                    Case No. 2018-L-1331

      HOMAN TRUCKING,LLC,             )
      IKE R. ROSE,                    )
      HOMAN & COMPANY,INC. and        )
      A.B.C.D. TRANSPORTATION CO., INC.)
                                                   )
              Defendants.                          )
                                SECOND AMENDED COMPLAINT

                                              COUNT I

              Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

      defendants, Homan Trucking, LLC CFITL")and Ike R. Rose, states as follows:

              1. ' That the plaintiff herein Gearold R. Stine, was in Madison County, Illinois,

      on November 16, 2016, when the collision herein occurred.

              2.      That the defendant, HTL, is a corporation with its principal place of

      business in Bonduel, Wisconsin. Said defendant regularly operates in Illinois and has ICC

      authority to operate in Illinois.

              3.      That the defendant, Ike R. Rose, was in Madison County in the State of

      Illinois at the aforesaid time and was operating a tractor trailer owned, registered and/or

      under the logo or ICC numbers of defendant, HTL.

              4.      That at all times relevant hereto the defendant, Ike R. Rose ("Rose"), was

      acting in the scope of his duties as an employee and/or agent for HTL.




                                              Page 1 of 14
                                           Case No,
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 12 of 67 Page ID #17




              5.      That at the above time and place in Madison County, Illinois the plaintiff

      was operating his motor vehicle in an easterly direction on 1-70 near the Highland, Illinois,

      rest area.

              6.      That at the aforesaid time and place the defendant, Rose, was operating a

     • transport trailer to the rear of plaintiff and other vehicles.

              7.      That at the aforesaid time and place the transport trailer operated by Rose

      bore the following logo/placard "Homan Trucking, LLC"and USDOT 761355.

              8.      That based upon the above the defendant, Rose, owed a duty to plaintiff to

      operate the tractor-trailer with due regard and care for the safety of plaintiff and others

      similarly situated.

              9.      That in violation of the aforesaid duty the defendant, Rose, committed one

      or more of the following negligent acts or omissions:

                      a)      failed to keep a proper lookout;

                      b)     failed to operate his vehicle at a reasonable speed in violation of625
                            ILCS 5/11-606(a)

                      c)      failed to yield the right of way to plaintiff's vehicle
                              in violation of625 ILCS 5/11-902;

                      d)      failed to keep a proper lookout;

                      e)       drove his automobile in a reckless manner in violation of625
                               ILCS 5/11-503;

                      ft       drove his automobile at a speed which is greater than is
                               reasonable and proper with regard to traffic conditions and the use
                               of the highway, or endangers the safety of any person or property
                               in violation of625 ILCS 5/11-601;

                      g)       failed to sound an audible horn warning in violation of 625 ILCS
                               5/12-601;
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 13 of 67 Page ID #18




                       h)     failed to reduce speed to avoid colliding with Other vehicles in
                                      violation of625 ILCS 5/11-601;

                              followed too closely the vehicle of Plaintiff and/or the vehicle in
                              front of him in violation of625 ILICS 5/11-710;

                      j)      engaged in distracting behavior such as using a wireless telephone
                              in or near construction zone in violation of625 ILCS 5/1 2-610.1(e)
                              and/or texting while driving in violation of625 ILCS 6/12-610,2.


                      k)      operated a motor vehicle which was in such unsafe condition as to
                              endanger the person or property of others in violation of 625 ILCS
                              5/12-101; and/or

                       1)     operated a motor vehicle without proper brakes in violation of 625
                              ILCS 5/12-301


               1 0.   That as a direct and proximate result of the above, the vehicle operated by

       Rose collided with the vehicle operated by plaintiff, Gearold R. Stine. Plaintiff there and

       then experienced severe pain, suffering, mental anguish and property damage. Plaintiff

       has incurred and shall continue to incur medical charges. Plaintiff has lost wages and

       income and such losses continue. Plaintiff suffered loss of nonnal life. Plaintiff's pain and

       suffering continues. Further, Defendants' denial of liability has caused mental stress to

       Plaintiff. Plaintiff's injuries are such that convalescent care may be required in the future.

               WHEREFORE, the. plaintiff prays for a Judgment in his favor against the

       defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

       DOLLARS ($50,000.00) and for costs of this action.

                                                COUNT 11

               Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

       defendants, Homan Trucking, LLC ("1-ITL") and Ike R. Rose, states as follows:




                                                 Page 3 of 14
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             1-10. Plaintiff repeats, realleges and incorporates herein by reference Paragraph

      1-10 of Count 1 as Paragraphs 1-10 of this Count.

             1 1.    That at all times relevant hereto one or both of the Defendants were aware

      the truck Rose was operating was in an unsafe condition and that the continued operation

      of that vehicle on interstate highways posed an extreme hazard to the motoring public in

      general.

             12,     That, notwithstanding the above, Rose continued to operate the truck on the

      interstate highway in a willful and wanton disregard of the safety of others. Rose engaged

      in such horrendous act to avoid calling for and incurring the cost of a wrecker and/or to

      avoid the downtime necessary to park the vehicle while awaiting repairs or towing.

      Defendants thereby placed their own concerns and/or the company's financial concerns

      over the safety ofothers in conscious disregard of the safety ofthe motoring public. HTL's

      manager(s) were aware of such unsafe conditions.

              WHEREFORE, the plaintiff prays for a Judgment in his favor against the

      defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

      DOLLARS ($50,000.00) and for costs of this action. Plaintiff further seeks punitive

      damages for Defendants' behavior.

                                                 COUNT III

             Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

      defendants, Homan & Company, Inc.,("HCI",) and Ike R. Rose, states as follows:

              1.     That the plaintiff herein Gearold R. Stine, was in Madison County, Illinois,

      on November 16, 2016, when the collision herein occurred.




                                              Page 4 of 14
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               2.      That the defendant, HCI,is a corporation with its principal place of business

       in Marquand, Missouri. Said defendant regularly operates in Illinois and has ICC authority

       to operate in Illinois.

               3.      That the defendant, Ike R. Rose, was in Madison County in the State of

       Illinois at the aforesaid time and was operating a tractor trailer owned, registered and/or

       under the logo or ICC numbers of defendant, HCI.

               4.      That at all times relevant hereto the defendant, Ike R. Rose ("Rose"), was

       acting in the scope of his duties as an employee and/or agent for HCI,

               5.      That at the above time and place in Madison County, Illinois the plaintiff

       was operating his motor vehicle in an easterly direction on 1-70 near the Highland, Illinois,

       rest area.

               6.      That at the aforesaid time and place the defendant, Rose, was operating a

       transport trailer to the rear of plaintiff and other vehicles.

               7.      That at the aforesaid time and place the transport trailer operated by Rose

       bore the following logo/placard "Homan and Company, Inc." and USDOT 2225111 and

       MC number MC-360455.

               8.      That based upon the above the defendant, Rose, owed a duty to plaintiff to

       operate the tractor-trailer with due regard and care for the safety of plaintiff and others

       similarly situated.

               9.      That in violation of the aforesaid duty the defendant, Rose, committed one

       or more of the following negligent acts or omissions:

                       a)        failed to keep a proper lookout;

                       b)        failed to operate his vehicle at a reasonable speed in violation of625
                                 ILCS 5/11-606(a)




                                                   Page 5 of 14
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                              failed to yield the right of way to plaintiff's vehicle
                              in violation of 625 ILCS 5/11-902;

                      d)      failed to keep a proper lookout;

                      e)      drove his automobile in a reckless mariner in violation of625
                              ILCS 5/11-503;

                      )
                      f       drove his automobile at a speed which is greater than is
                              reasonable and proper with regard to traffic conditions and the use
                              ofthe highway, or endangers the safety of any person or property
                              in violation of625 ILCS 5/11-601;

                      g)      failed to sound an audible horn warning in violation of625 1LCS
                              5/12-601;

                      11)     failed to reduce speed to avoid colliding with other vehicles in
                              violation of 625 ILCS. 5/11-601;

                      )
                      i       followed too closely the vehicle of Plaintiff and/or the vehicle in
                              front of him in violation of625 ILICS 5/11-710;

                      j)      engaged in distracting behavior such as using a wireless telephone
                              in or near construction zone in violation of625 ILCS 5/12-610.1(e)
                              and/or texting while driving in violation of 625 1LCS 6/12-610.2.


                      k)      operated a motor vehicle which was in such unsafe condition as to
                              endanger the person or property of others in violation of 625 1LCS
                              5/12-101; and/or

                      1)      operated a motor vehicle without proper brakes in violation of 625
                              1LCS 5/12-301.


              10.     That as a direct and proximate result of the above, the vehicle operated by

       Rose collided with the vehicle operated by plaintiff, Gearold R. Stine. Plaintiff there and

       then experienced severe pain, suffering, mental anguish and property damage. Plaintiff

       has incurred and shall continue to incur medical charges. Plaintiff has lost wages and

       income and such losses continue. Plaintiff suffered loss of normal life. Plaintiff's pain and




                                                 l'afg 6 of 1a
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       suffering continues. Further, Defendants' denial of Liability has caused mental stress to

       Plaintiff. Plaintiff's injuries are such that convalescent care may be required in the future.

               WHEREFORE, the plaintiff prays for a Judgment in his favor against the

       defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

       DOLLARS ($50,000.00) and for costs of this action.

                                               COUNT IV

              Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

       defendants, Homan & Company, Inc.,("FICI",) and Ike R. Rose, states as follows:

               I -10. Plaintiff repeats, realleges and incorporates herein by reference Paragraph

       1-10 of Count 1 as Paragraphs 1-10 of this Count.

               1 1.   That at all times relevant hereto one or both of the Defendants were aware

       the truck Rose was operating was in an unsafe condition and that the continued operation

       of that vehicle on interstate highways posed an extreme hazard to the motoring public in

       general,

               12.    That, notwithstanding the above, Rose continued to operate the truck on the

       interstate highway in a willful and wanton disregard of the safety of others. Rose engaged

       in such horrendous act to avoid calling for and incurring the cost of a wrecker and/or to

       avoid the downtime necessary to park the vehicle while awaiting repairs or towing.

       Defendants thereby placed their own concerns and/or the company's financial concerns

       over the safety ofothers in conscious disregard of the safety of the motoring public. FITL's

       manager(s) were aware of such unsafe conditions.

               WHEREFORE, the plaintiff prays for a Judgment in his favor against the

       defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND




                                                Page 7 of 14
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 18 of 67 Page ID #23




      DOT.LARS ($50,000.00) and for costs of this action. Plaintiff further seeks punitive

      damages for Defendants' behavior.

                                                    COUNT V

              Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

      defendants, Ike R. Rose and A.B.C.D. Transportation Co., Inc., ("ABCD") states as

      follows:

                 .    That the plaintiff herein Gearold R. Stine, was in Madison County, Illinois,

      on November 16, 2016, when the collision herein occurred.

             2.       That the defendant, ABCD, is a corporation with its principal place of

      business in Marquand, Missouri. Said defendant regularly operates in Illinois and has ICC

      authority to operate in Illinois and employed Ike R. Rose at all relevant times.

              3.      That the defendant, Ike R. Rose, was in Madison County in the State of

      Illinois at the aforesaid time and was operating a tractor trailer owned, registered and/or

      under the logo or ICC numbers of defendant, HCI, while employed by ABCD.

             4.       That at all times relevant hereto the defendant, Ike R. Rose ("Rose"), was

      acting in the scope of his duties as an employee and/or agent for ABCD.

              5.      That at the above time and place in Madison County, Illinois the plaintiff

      was operating his motor vehicle in an easterly direction on 1-70 near the Highland, Illinois,

      rest area.

             6.       That at the aforesaid time and place the defendant, Rose, was operating a

      transport trailer to the rear of plaintiff and other vehicles.




                                                 Page 8 of 14
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              7.      That at the aforesaid time and place the transport trailer operated by Rose

       w hile employed by ABCD bore the following logo/placard "Homan arid Company, Inc."

       and USDOT 2225111 and MC number MC-360455.

              8.      That based upon the above the defendant, Rose, owed a duty to plaintiff to

       operate the tractor-trailer with due regard and care for the safety of plaintiff and others

       similarly situated.

              9.      That in violation of the aforesaid duty the defendant, Rose, committed one

       or more of the following negligent acts or omissions:

                      a)     failed to keep a proper lookout;

                      b)     failed to operate his vehicle at a reasonable speed in violation of625
                             ILCS 5/1 1 -606(a)

                      e)     failed to yield the right of way to plaintiff's vehicle
                             in violation of 625 ILCS 5/11-902;

                      d)     failed to keep a proper lookout;

                      e)      drove his automobile in a reckless manner in violation of625
                              ILCS 5/1 1-503;

                      )
                      f       drove his automobile at a speed which is greater than is
                              reasonable and proper with regard to traffic conditions and the use
                              of the highway, or endangers the safety of any person or property
                              in violation of625 ILCS 5/11-601;

                      g)      failed to sound an audible horn warning in violation of625 ILCS
                              5/12-601;

                       h)     failed to reduce speed to avoid colliding with other vehicles in
                              violation of 625 ILCS 5/11-601;

                      1)      followed too closely the vehicle of Plaintiff and/or the vehicle in
                              front of him in violation of 625 ILICS 5/1 1-710;

                      j)      engaged in distracting behavior such as using a wireless telephone
                              in or near construction zone in violation of 625 ILCS 5/12-610.1(e)
                              and/or texting while driving in violation of 625 ILCS 6/12-610.2.




                                                Page 9 of 14
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                      k)      operated a motor vehicle which was in such unsafe condition as to
                              endanger the person or property of others in violation of 625 ILCS
                              5/12-101; and/or

                      )
                      1       operated a motor vehicle without proper brakes in violation of 625
                              ILCS 5/12-301.


               10.    That as a direct and proximate result of the above, the vehicle operated by

       Rose collided with the vehicle operated by plaintiff, Gearold R. Stine, Plaintiff there and

       then experienced severe pain, suffering, mental anguish and property damage. Plaintiff

       has incurred and shall continue to incur medical charges. Plaintiff has lost wages and

       income and such losses continue. Plaintiff suffered loss of normal life. Plaintiff's pain and

       suffering continues. Further, Defendants' denial of liability has caused mental stress to

       Plaintiff. Plaintiff's injuries are such that convalescent care may be required in the future.

               WHEREFORE, the plaintiff prays for a Judgment in his favor against the

       defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

       DOLLARS ($50,000.00) and for costs of this action.

                                               COUNT VI

              Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

       defendants, Ike R. Rose and A.B.C.D. Transportation Co., Inc., CABCD'') states as

       follows:

               1.     That the plaintiff herein Gearold R. Stine, was in Madison County, Illinois,

       on November 16, 2016, when the collision herein occurred.




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               2.      That the defendant, ABCD, is a corporation with its principal place of

       business in Marquand, Missouri. Said defendant regularly operates in Illinois and has ICC

       authority to operate in Illinois and employed Ike R. Rose at all relevant times.

               3.      That the defendant, Ike R. Rose, was in Madison County in the State of

       Illinois at the aforesaid time and was operating a tractor trailer owned, registered and/or

       under the logo or ICC numbers of defendant, FICI, while employed by ABCD.

              4.       That at all times relevant hereto the defendant, Ike R. Rose ("Rose"), was

       acting in the scope of his duties as an employee and/or agent for ABCD.

               5.      That at the above time and place in Madison County, Illinois the plaintiff

       was operating his motor vehicle in an easterly direction on 1-70 near the Highland, Illinois,

       rest area.

               6.      That at the aforesaid time and place the defendant, Rose, was operating a

       transport trailer to the rear of plaintiff and other vehicles.

               7.      That at the aforesaid time and place the transport trailer operated by Rose

       while employed by ABCD bore the following logo/placard "Homan and Company, Inc."

       and USDOT 2225111 and MC number MC-360455.

               8.      That based upon the above the defendant, Rose, owed a duty to plaintiff to

       operate the tractor-trailer with due regard and care for the safety of plaintiff and others

       similarly situated.

               9.      That in violation of the aforesaid duty the defendant, Rose, committed one

       or more of the following negligent acts or omissions:

                       a)      failed to keep a proper lookout;

                       b)      failed to operate his vehicle at a reasonable speed in violation of625
                               I LCS 5/11-606(a).




                                                 Page 11 of 14
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                     c)     failed to yield the right of way to plaintiff's vehicle
                            in Violation of625 ILCS 5/11-902;

                     d)      failed to keep a proper lookout;

                     e)      drove his automobile in a reckless manner in violation of 625
                             ILCS 5/1 1-503;

                     f)      drove his automobile at a speed which is greater than is
                             reasonable and proper with regard to traffic conditions and the use
                             of the highway, or endangers the safety of any person or property
                             in violation of625 ILCS 5/11-601;

                     g)      failed to sound an audible horn warning in violation of625 ILCS
                             5/12-601;

                     h)      failed to reduce speed to avoid colliding with other vehicles in
                             violation of 625 ILCS 5/11-601;

                     )
                     i       followed too closely the vehicle of Plaintiff and/or the vehicle in
                             front of him in violation of625 ILICS 5/11-710;

                     j)      engaged in distracting behavior such as using a wireless telephone
                             in or near construction zone in violation of625 ILCS 5/12-610.1(e)
                             and/or texting while driving in violation of625 ILCS 6/12-610.2.


                     k)      operated a motor vehicle which was in such unsafe condition as to
                             endanger the person or property of others in violation of 625 ILCS
                             5/12-101; and/or

                     I)      operated a motor vehicle without proper brakes in violation of 625
                             1LCS 5/12-301.


             10.     That as a direct and proximate result of the above, the vehicle operated by

      Rose collided with the vehicle operated by plaintiff, Gearold R. Stine. Plaintiff there and

      then experienced severe pain, suffering, mental anguish and property damage. Plaintiff

      has incurred and shall continue to incur medical charges. Plaintiff has lost wages and

      income and such losses continue. Plaintiff suffered loss of normal life. Plaintiff's pain and




                                              Page 12 of 14
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      suffering continues, Further, Defendants' denial of liability has caused mental stress to

      Plaintiff. Plaintiff's injuries are such that convalescent care may be required in the future.

              1 I,   That at all times relevant hereto one or both of the Defendants were aware

      the truck Rose was operating was in an unsafe condition and that the continued operation

      of that vehicle on interstate highways posed an extreme hazard to the motoring public in

      general.

              12.    That, notwithstanding the above, Rose continued to operate the truck on the

      interstate highway in a willful and wanton disregard of the safety of others. Rose engaged

      in such horrendous act to avoid calling for and incurring the cost of a wrecker and/or to

      avoid the downtime necessary to park the vehicle while awaiting repairs or towing.

      Defendants thereby placed their own concerns and/or the company's financial concerns

      over the safety of others in conscious disregard of the safety ofthe motoring public. FITL's

       manager(s) were aware of such unsafe conditions.

              WHERF,FORE, the plaintiff prays for a Judgment in his favor against the

       defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

       DOLLARS ($50,000.00) and for costs of this action. Plaintiff further seeks punitive

       damages for Defendants' behavior.



                                                     Respectfully Submitted,

                                                     WENDLER LAW,P.C.



                                             By:

                                                     Brian M. Wendler #06196124
                                                     Angie M. Zinzilieta #6322894




                                               Page 13 of 14
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 24 of 67 Page ID #29




                                        Paul EH. Rademacher #6324529
                                        900 Hillsboro, Suite 10
                                        Edwardsville, IL 62025
                                        Ph:(618)692-0011
                                        Fax:(618)692-0022
                                        Email: wendlerlawpc@gmail.com




                                  Page 14 of 14
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                                 IN THE CIRCUIT COURT
                                THIRD JUDICIAL CIRCUIT
                               MADISON COUNTY,ILLINOIS

 GEAROLD R.STINE                             )
                                             )
        Plaintiff,
                                                             2018L 001331
 vs.                                                 Case No.       -I,-

 HOMAN TRUCKING,LI,C anti
 IKE R. ROSE

        Defendants.

                                           SUMMONS

 To the defendant: IKE R.ROSE,1011 Madison 239, Marquand, Missouri, 63655.

 YOU ARE SUMMONED and required to file an answer in this case, or otherwise file your

 appearance, in the office ofthe clerk ofthis court MADISON COUNTY,EDWARDSVILLE,

 Illinois, within 30 days after service of this summons, not counting the day ofservice. IF YOU
 FAIL TO DO SO,A JUDGMENT OR DECREE BY DEFAULT MAY BE TAKEN
 AGAINST YOU FOR THE RELIEF ASKED IN THE COMPLAINT.

 To the officer:

        This summons must be returned by the officer or other persons to whom it was given for
 service, with indorsement ofservice and fees, if any,immediately after service. Ifservice cannot
 be made,this summons shall be returned so indorsed. This summons may not be served later
 than 30 days after its date.
                                                              10/12/2018                20

                                                                   Clerk of Court
                                                               Is/ Donna Finch
                                                            Associate Circuit Clerk-Deputy
 Name: Brian M. Wendler
 Attorney for: Gearold R. Stine II
 Address: 900 Hillsboro Ave., Suite 10
 City: Edwardsville
 Telephone: 618-692-0011

                              Date of Service:                                          ,20      .
                           (To be inserted by officer on copy left with defendant or other person)
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 26 of 67 Page ID #31




                                        SHERIFF'S FEES

                     Servi,:e and return
                      Miles
                     Total
                                      Sheriff of                       County
        I certify that I served this summons on defendants as follows:

   (a) - (Individual defendants - personal):
    By leaving a copy ofthe complaint with each individual defendant personally, as follows:
                       Name of Defendant                         Date of Service




    (b) - (Individual Defendants- abode):
     By leaving a copy and a copy ofthe complaint at the usual place of abode of each individual
 defendant with a person ofthe family, or a person residing there, ofthe age of 13 years or
 upwards,informing that person ofthe contents ofthe summons, and also by sending a copy of
 the summons and ofthe complaint in a sealed envelope with postage fully prepaid, addressed to
 each individual defendant at his or her usual place of abode, as follows:
                Name of Defendant Person W/ Whom Left                    Date of Service    Date of
                Mailing




    (c) - (Individual Defendants- Personal):
     By leaving a copy and a copy ofthe complaint with the registered agent, officer or agent,
 officer or agent of each defendant corporation, as follows:
         Defendant Corporation                Registered Agent, Officer or Agent       Date of
         Service
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 27 of 67 Page ID #32




   (d) -(Other Service):

                                 , Sheriff of                      County

                    By                             , Deputy
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 28 of 67 Page ID #33
                                                                                                              ***EFIED
                                                                                              Case Number 20181. 001331
                                                                                                 Date: 1112/2018 10:30 AM
                                                                                                            Mark Von Nida
                                                                                                     Clerk of Circuit Court
                                                                            Third Judicial Circuk, Madison County *►nvis
                                 IN THE CIRCUIT COURT
                                THIRD JUDICIAL CIRCUIT
                               MADISON COUNTY,ILLINOIS

    GEAROLD R. STINE                             )
                                                 )
            Plaintiff,                           )
                                                 )                   18
    VS.                                          )        Case No.        -L-1331
                                                 )
   HOMAN TRUCKING, LLC and                       )
   IKE R. ROSE                                   )
                                                 )
            Defendants.                          )

          PLAINTIFF'S MOTION FOR LEAVE TO FILE AMENDED COMPLAINT



            1.     That the Driver Information Exchange document supplied to Plaintiff by

    the Illinois State Police lists "Homan Trucking, LLC" as the owner of the truck that

    collided with Plaintiff.

            2.      That the Complaint named Homan Trucking, LLC, as a Defendnat based

    upon the above information.

            3.     That on October 31, 2018, Plaintiffs' counsel received a call from Homan

    Trucking, LLC, advising it was not involved in the crash and it never employed Ike Rose,

    the co-Defendant driver.

            4.     That investigation has revealed Homan & Company, Inc., a Missouri

    corporation is headquartered in Marquand, Missouri, the same town listed as the

    residence of Ike Rose.

            5.     That no Defendant has answered the Complaint to date. As such, Plaintiff

    has an absolute right to amend his Complaint without hearing.




                                            Page 1 of 2
                                         Case No.
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 29 of 67 Page ID #34




           6.        That Plaintiffs Amended Complaint is attached hereto and is to be

    deemed filed herewith and/or upon entry ofthe order attached, whichever is first allowed

    under the law.

            WHEREFORE,Plaintiff prays for the entry of the attached order and for such

    other and further relief as deemed just.



                                                    Respectfully Submitted,

                                                    WENDLER LAW,P.C.



                                          By:     /Stesiriadl
                                                            e4
                                                    Brian M. Wendler #06196124
                                                    Angie M. Zinzilieta #6322894
                                                    Paul E.H. Rademacher #6324529
                                                    900 Hillsboro, Suite 10
                                                    Edwardsville, IL 62025
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                                                    Email: wendlerlawpc(4),gmail•com




                                               Page 2 of 2
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                               IN THE CIRCUIT COURT
                              THIRD JUDICIAL CIRCUIT
                             MADISON COUNTY,ILLINOIS

 GEAROLD R. STINE

       Plaintiff,

 vs.                                              Case No.

 HOMAN TRUCKING,LLC and
 IKE R. ROSE

       Defendants.

                                          WI=

       Plaintiff's Motion For Leave To File Amended Complaint is presented and granted. The

 Amended Complaint is deemed filed. Summons to issue to Homan & Company, Inc.




                      Date                                              Enter
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                                                                                                                *'EF1LED*"*
                                                                                                Case Number 20181. 001331
                                                                                                   Date: 11/2/2018 10:30 AM
                                                                                                              Mark Von Nida
                                                                                                       Clerk of Circuit Court
                                                                             Third Judicial Circuit, Madison County Illinois
                                   IN TIIE CIRCUIT COURT
                                  THIRD JUDICIAL CIRCUIT
                                 MADISON COUNTY,ILLINOIS

    GEAROLD R. STINE

            Plaintiff,

    vs.                                                   Case No. 2018-L-1331

    HOMAN TRUCKING,LLC,
    IKE R. ROSE,and
    HOMAN & COMPANY,INC.

            Defendants.

                                    AMENDED COMPLAINT

                                             COUNT I

            Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

    defendants, Homan Trucking, LLC("HTL")and Ike R. Rose, states as follows:

            1.      That the plaintiff herein Gearold R. Stine, was in Madison County, Illinois,

    on November 16, 2016, when the collision herein occurred.

            2.      That the defendant, HTL, is a corporation with its principal place of

    business in Bonduel, Wisconsin. Said defendant regularly operates in Illinois and has ICC

    authority to operate in Illinois.

            3.      That the defendant, Ike R. Rose, was in Madison County in the State of

   Illinois at the aforesaid time and was operating a tractor trailer owned, registered and/or

   under the logo or ICC numbers of defendant, HTL.

           4.      That at all times relevant hereto the defendant, Ike R. Rose ("Rose"), was

   acting in the scope of his duties as an employee and/or agent for HTL.




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                                          Case No.
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            5.      That at the above time and place in Madison County, Illinois the plaintiff

    was operating his motor vehicle in an easterly direction on 1-70 near the Highland, Illinois,

    rest area.

            6.      That at the aforesaid time and place the defendant, Rose, was operating a

    transport trailer to the rear of plaintiff and other vehicles.

            7.      That at the aforesaid time and place the transport trailer operated by Rose

    bore the following logo/placard "Homan Trucking, LLC" and USDOT 761355.

            8.      That based upon the above the defendant, Rose, owed a duty to plaintiff to

    operate the tractor-trailer with due regard and care for the safety of plaintiff and others

    similarly situated.

           9.       That in violation of the aforesaid duty the defendant, Rose, committed one

    or more of the following negligent acts or omissions:

                   a)       failed to keep a proper lookout;

                   b)      failed to operate his vehicle at a reasonable speed in violation of625
                          ILCS 5/11-606(a)

                   c)       failed to yield the right of way to plaintiffs vehicle
                            in violation of625 ILCS 5/11-902;

                   d)       failed to keep a proper lookout;

                   e)       drove his automobile in a reckless manner in violation of625
                            ILCS 5/11-503;

                            drove his automobile at a speed which is greater than is
                            reasonable and proper with regard to traffic conditions and the use
                            ofthe highway, or endangers the safety of any person or property
                            in violation of625 ILCS 5/11.601;

                           failed to sound an audible horn warning in violation of625 ILCS
                           5/12-601;




                                               Page 2 of8
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                   h)      failed to reduce speed to avoid colliding with other vehicles in
                                   violation of625 ILCS 5/11-601;

                   i)      followed too closely the vehicle ofPlaintiff and/or the vehicle in
                           front of him in,violation of625 ILICS 5/11-710;

                   j)      engaged in distracting behavior such as using a wireless telephone
                           in or near construction zone in violation of625 ILCS 5/12-610.1(e)
                           and/or texting while driving in violation of625 ILCS 6/12-610.2,


                   k)      operated a motor vehicle which was in such unsafe condition as to
                           endanger the person or property of others in violation of 625 ILCS
                           5/12-101; and/or

                   I)      operated a motor vehicle without proper brakes in violation of 625
                           ILCS 5/12-301


            10.    That as a direct and proximate result ofthe above, the vehicle operated by

    Rose collided with the vehicle operated by plaintiff, Gearold R. Stine. Plaintiff there and

    then experienced severe pain, suffering, mental anguish and property damage. Plaintiff

    has incurred and shall continue to incur medical charges. Plaintiff has lost wages and

    income and such losses continue. Plaintiff suffered loss ofnormal life. Plaintiff's pain and

    suffering continues. Further, Defendants' denial of liability has caused mental stress to

   Plaintiff. Plaintiffs injuries are such that convalescent care may be required in the future.

           WHEREFORE, the plaintiff prays for a Judgment in his favor against the

    defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

    DOLLARS($50,000.00) and for costs ofthis action.

                                            COUNT II

           Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

    defendants, Homan Trucking, LLC("HTL")and Ike R. Rose,states as follows:




                                             Page 3 of 8
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           1-10. Plaintiff repeats, realleges and incorporates herein by reference Paragraph

    1-10 of Count I as Paragraphs 1-10 of this Count.

           11.    That at all times relevant hereto one or both of the Defendants were aware

   the truck Rose was operating was in an unsafe condition and that the continued operation

   of that vehicle on interstate highways posed an extreme hazard to the motoring public in

   general.

           12.    That, notwithstanding the above, Rose continued to operate the truck on the

   interstate highway in a willful and wanton disregard ofthe safety of others. Rose engaged

   in such horrendous act to avoid calling for and incurring the cost of a wrecker and/or to

   avoid the downtime necessary to park the vehicle while awaiting repairs or towing.

   Defendants thereby placed their own concerns and/or the company's financial concerns

   over the safety ofothers in conscious disregard ofthe safety ofthe motoring public. HTL's

   manager(s) were aware ofsuch unsafe conditions.

           WHEREFORE, the plaintiff prays for a Judgment in his favor against the

   defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

   DOLLARS ($50,000.00) and for costs of this action. Plaintiff further seeks punitive

   damages for Defendants' behavior.

                                             COUNT III

          Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

   defendants, Homan & Company,Inc.,("HCI",)and Ike R. Rose, states as follows:

           1.     That the plaintiffherein Gearold R. Stine, was in Madison County, Illinois,

   on November 16, 2016, when the collision herein occurred.




                                           Page 4 of8
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             2.      That the defendant, HCI,is a corporation with its principal place ofbusiness

    in Marquand, Missouri. Said defendant regularly operates in Illinois and has ICC authority

     to operate in Illinois.

             3.      That the defendant, Ike R. Rose, was in Madison County in the State of

    Illinois at the aforesaid time and was operating a tractor trailer owned, registered and/or

    under the logo or ICC numbers of defendant, HCI.

             4.      That at all times relevant hereto the defendant, Ike R. Rose ("Rose"), was

    acting in the scope of his duties as an employee and/or agent for HCI.

            5.       That at the above time and place in Madison County, Illinois the plaintiff

    was operating his motor vehicle in an easterly direction on 1-70 near the Highland, Illinois,

    rest area.

            6.       That at the aforesaid time and place the defendant, Rose, was operating a

    transport trailer to the rear of plaintiff and other vehicles.

            7.       That at the aforesaid time and place the transport trailer operated by Rose

    bore the following logo/placard "Homan and Company, Inc." and USDOT 2225111 and

    MC number MC-360455.

            8.      That based upon the above the defendant, Rose, owed a duty to plaintiff to

    operate the tractor-trailer with due regard and care for the safety of plaintiff and others

    similarly situated.

            9.      That in violation of the aforesaid duty the defendant, Rose, committed one

    or more of the following negligent acts or omissions:

                    a)         failed to keep a proper lookout;

                    b)         failed to operate his vehicle at a reasonable speed in violation of625
                               ILCS 5/11-606(a)




                                                 Page 5 of 8
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                   c)      failed to yield the right of way to plaintiffs vehicle
                           in violation of625 ILCS 5/11-902;

                   d)      failed to keep a proper lookout;

                   e)      drove his automobile in a reckless manner in violation of625
                           ILCS 5/11-503;

                   fj      drove his automobile at a speed which is greater than is
                           reasonable and proper with regard to traffic conditions and the use
                           ofthe highway, or endangers the safety of any person or property
                           in violation of625 ILCS 5/11-601;

                   g)      failed to sound an audible horn warning in violation of625 ILCS
                           5/12-601;

                   h)      failed to reduce speed to avoid colliding with other vehicles in
                           violation of625 ILCS 5/11-601;

                   i)      followed too closely the vehicle of Plaintiff and/or the vehicle in
                           front of him in violation of625 ILICS 5/11-710;

                   j)      engaged in distracting behavior such as using a wireless telephone
                           in or near construction zone in violation of625 ILCS 5/12-610.1(e)
                           and/or texting while driving in violation of625 ILCS 6/12-610.2.


                   k)      operated a motor vehicle which was in such unsafe condition as to
                           endanger the person or property of others in violation of 625 ILCS
                           5/12-101; and/or

                   )
                   1       operated a motor vehicle without proper brakes in violation of625
                           ILCS 5/12-301.


            10.    That as a direct and proximate result of the above, the vehicle operated by

    Rose collided with the vehicle operated by plaintiff, Gearold R. Stine. Plaintiff there and

    then experienced severe pain, suffering, mental anguish and property damage. Plaintiff

    has incurred and shall continue to incur medical charges. Plaintiff has lost wages and

    income and such losses continue. Plaintiffsuffered loss of normal life. Plaintiff's pain and




                                             Page 6 of 8
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    suffering continues. Further, Defendants' denial of liability has caused mental stress to

    Plaintiff. Plaintiffs injuries are such that convalescent care may be required in the future.

           WHEREFORE, the plaintiff prays for a Judgment in his favor against the

    defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

    DOLLARS ($50,000.00) and for costs ofthis action.

                                            COUNT IV

           Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

    defendants, Homan & Company,Inc.,("HCI",)and Ike R. Rose, states as follows:

            1-10. Plaintiff repeats, realleges and incorporates herein by reference Paragraph

    1-10-of Count I as Paragraphs 1-10 ofthis Count.

           11.     That at all times relevant hereto one or both of the Defendants were aware

    the truck Rose was operating was in an unsafe condition and that the continued operation

    of that vehicle on interstate highways posed an extreme hazard to the motoring public in

    general.

           12.     That, notwithstanding the above,Rose continued to operate the truck on the

   interstate highway in a willful and wanton disregard of the safety of others. Rose engaged

   in such horrendous act to avoid calling for and incurring the cost of a wrecker and/or to

   avoid the downtime necessary to park the vehicle while awaiting repairs or towing.

   Defendants thereby placed their own concerns and/or the company's financial concerns

   over the safety of others in conscious disregard ofthe safety ofthe motoring public. HTL's

   manager(s) were aware of such unsafe conditions.

           WHEREFORE, the plaintiff prays for a Judgment in his favor against the

   defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND




                                             Page 7 of 8
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 38 of 67 Page ID #43




    DOLLARS ($50,000.00) and for costs of this action. Plaintiff further seeks punitive

    damages for Defendants' behavior.



                                               Respectfully Submitted,

                                               WENDLER LAW,P.C.



                                        By:             e 00
                                              4.0-71-7/w4   4_,
                                               Brian M. Wendler #06196124
                                               Angie M. Zinzilieta #6322894
                                               Paul E.H. Rademacher #6324529
                                               900 Hillsboro, Suite 10
                                               Edwardsville, IL 62025
                                               Ph:(618) 692-0011
                                               Fax:(618)692-0022
                                               Email: wendlerlavvpcagmail.com




                                         Page 8 of8
             Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 39 of 67 Page
                                                                                CaseID #44 2018L 0013
                                                                                     Number
                                                                                                                                                   Date: 1117/2018 2:41 F
                                                                                                                                                            Mark Von NI,
                                                                                                                                                     Clerk of Circuit Cot
                                                                                                                           Third Judicial Circuit, Madison County IllInc

                                                          AFFIDAVIT OF SERVICE

State of Illinois                                                                                                                         County of MADISON

Case Number: 2018-L-001331

Plaintiff:
GEAROLD R. STINE
vs.
Defendant:
HOMAN TRUCKING LLC ET AL

For:
BRIAN M. WENDLER
WENDLER LAW P.C.
900 HILLSBORO AVENUE
SUITE 10
EDWARDSVILLE, IL 62025

Received by Patrick L. Zelzer and Associates to be served on HOMAN TRUCKING LLC, N4632 BROADWAY ROAD, BONDUEL, WI
54107.

I, Patrick Zelzer, being duly sworn, depose and say that on the 31st day of October, 2018 at 2:17 pm, I:

served a CORPORATION by delivering a true copy of the AUTHENTICATED SUMMONS AND COMPLAINT with the date and hour of
service endorsed thereon by me, to: CHRIS LAHA as AUTHORIZED AGENT for HOMAN TRUCKING LLC, at the address of: N4632
BROADWAY ROAD, BONDUEL, WI 54107, and informed said person of the contents therein, in compliance with state statutes.


I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process Server, in good standing, in the
judicial circuit in which the process was served.




                                                                                                    Patrick Zelzer
Subscribed and Sworn to before me on the 2nd day of                                                 Process Server
November, 2018 by the affiant who is personally known
  me.                                                                                              Patrick L. Zelzer and Associates
                                                                                                    P.O BOX 12554
                                                                                                   Green Bay, WI 54307-2554
f   TARP PUBLIC                                      1: ‘:.;)f _A,                                 (920) 362-7707
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                                                                                    (T. :3          Our Job Serial Number: ZEL-2018003377
                                                                                                    Service Fee: $85.00
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                                                                                                                                  Case Number 20181. 001.331
                                                                                                                                       Date:11/712018 2:41 PM
                                                                                                                                                  Mark Von Nida
                                                                                                                                          Clerk of Circuit Court
                                                                                                               Third Judicial Circuit, Illkadison County Illinois
                                                     AFFIDAVIT OF SERVICE

State of Illinois                                                                                                             County of MADISON

Case Number. 2018-L-001331

Plaintiff:
GEAROLD R. STINE
Vs.

Defendant:
HOMAN TRUCKING LLC ET AL

For:
BRIAN M. WENDLER
WENDLER LAW P.C.
900 HILLSBORO AVENUE
SUITE 10
EDWARDSVILLE, IL 62025

Received by Patrick L. Zelzer and Associates to be served on HOMAN TRUCKING LLC, N4632 BROADWAY ROAD, BONDUEL, WI
54107.

I, Patrick Zelzer, being duly sworn, depose and say that on the 31st day of October, 2018 at 2:17 pm, I:

served a CORPORATION by delivering a true copy of the AUTHENTICATED SUMMONS AND COMPLAINT with the date and hour of
service endorsed thereon by me, to: CHRIS LAHA as AUTHORIZED AGENT for HOMAN TRUCKING LLC, at the address of: N4632
BROADWAY ROAD, BONDUEL, WI 54107, and informed said person of the contents therein, in compliance with state statutes.


I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process Server, in good standing, in the
judicial circuit in which the process was served.




                                                                                       Patrick Zelzer
Subscribed and Sworn to before me on the 2nd day of                                    Process Server
November, 2018 by the affiant who is personally known
  me.                                                                                  Patrick L. Zelzer and Associates
                                                                                        P.O BOX 12554
                                                                                       Green Bay, WI 54307-2554
      ARY PUBLIC                                                                       (920)362-7707

                                                                                       Our Job Serial Number: ZEL-2018003377
                                                                                       Service Fee: $85.00


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                                  IN THE CIRCUIT COURT
                                                                            Plia44Q1
                                 THIRD JUDICIAL CIRCUIT                           NOV 8
                                M ADISON COUNTY,ILLINOIS                  CCM<               2018
                                                                             THIRD  ORCUIT
                                                                          ki.ADI            COURT #
   GEAROLD R.STINE                         )                                    SONJUDICIAL oRcurr
                                                                                    COUNni, ktiNots
                                           )
         Plaintiff,                        )
                                           )
   VS.                                     )       Case No. br -L-
    •
                                           )
   HOMAN TRUCKING, LLC and                 )
   IKE R. ROSE                             )

         Defendants. .                      )

                                            ORDER
                                      . .
         Plaintiff's Motion For Leave-To File Amended Complaint is presented and granted. The

   A mended Complaint is deemed 'filed. Summons to issue to. Homan & Company, Inc.




                         Date                                             Enter
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 42 of 67 Page ID #47
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                                                                                             Case Number 2018L 001331
                                                                                                Date: 11113,2018 1:47 PM
                                                                                                            Mark Von NIda
                                                                                                    Caerk a'CP cud Court
                                                                          Ttdrd Judicial Circuit, litadtson County Illinois
                                 IN THE CIRCUIT COURT
                                THIRD JUDICIAL CIRCUIT
                               MADISON COUNTY,ILLINOIS

     GEAROLD R.STINE

            Plaintiff,

    vs.                                                  Case No.2018-L-1331

    HOMAN TRUCKING,LLC and
    IKE R. ROSE

           Defendants.

                     PLAINTIFF'S AMENDED MOTION FOR LEAVE
                       TO FILE SECOND AMENDED COMPLAINT


            1.     That the Driver Information Exchange document supplied to Plaintiff by

    the Illinois State Police lists "Homan Trucking, LLC" as the owner ofthe truck that

    collided with Plaintiff.

           2.      That the Complaint named Homan Trucking, LLC, as a Defendant based

    upon the above information,

           3.      That on October 31,2018, Plaintiffs' counsel received a call from Homan

    Trucking, LLC,advising it was not involved in the crash and it never employed Ike Rose,

    the co-Defendant driver.

           4.      That investigation has revealed Homan & Company, Inc., a Missouri

    corporation is headquartered in Marquand, Missouri, the same town listed as the

    residence ofIke Rose. A call to that company revealed Defendant Rose was employed by

    A.B.C.D. Transportation Co., Inc., a company affiliated with Homan & Company,Inc.

           5.      That no Defendant has answered the Complaint to date. As such, Plaintiff

    has an absolute right to amend his Complaint without hearing.


                                           Page 1 of 2
                                        Case No.
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           6.        That Plaintiff's Second Amended Complaint is attached hereto and is to be

    deemed filed herewith and/or upon entry ofthe order attached, whichever is first allowed

    under the law.

           WHEREFORE,Plaintiff prays for the entry ofthe attached order and for such

    other and further relief as deemed just.



                                                    Respectfully Submitted,

                                                    WENDLER LAW,P.C.



                                          By:        ildomae_
                                                   Brian M. Wendler #06196124
                                                   Angie M.Zinzilieta #6322894
                                                   Paul E.H. Rademacher #6324529
                                                   900 Hillsboro, Suite 10
                                                   Edwardsville, IL 62025
                                                   Ph:(618)692-0011
                                                   Fax:(618)692-0022
                                                   Email: wend1eilawpcic




                                               Page 2 of2
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                                IN THE CIRCUIT COURT
                               THIRD JUDICIAL CIRCUIT
                              MADISON COUNTY,ILLINOIS

 GEAROLD R. STINE

        Plaintiff,

 vs.                                               Case No. 2018-L-1331

 HOMAN TRUCKING,LLC and
 IKE R. ROSE

        Defendants.

                                           =al
        Plaintiff's Amended Motion For Leave To File Second Amended Complaint is presented

 and granted. The Second Amended Complaint is deemed filed. Summons to issue to Homan &

 Company, Inc., and to A.B.C.D. Transportation Co., Inc.




                       Date                                               Enter




                                               1
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                                   IN THE CIRCUIT COURT
                                  THIRD JUDICIAL CIRCUIT
                                 MADISON COUNTY,ILLINOIS

    GEAROLD R. STINE                             )
                                                 )
            Plaintiff,                           )
                                                 )
    vs.                                          )         Case No. 2018-L-1331
                                   )
    HOMAN TRUCKING,LLC,            )
    TICE R. ROSE,                  )
    HOMAN & COMPANY,INC. and       )
    A.B.C.D. TRANSPORTATION CO.,INC.)
                                   )
           Defendants.             )

                              SECOND AMENDED COMPLAINT

                                            COUNT I

            Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

    defendants, Homan Trucking, LLC("HTL")and Ike R. Rose, states as follows:

            1.      That the plaintiff herein Gearold R. Stine, was in Madison County,Illinois,

    on November 16, 2016, when the collision herein occurred.

            2.      That the defendant, HTL, is a corporation with its principal place of

    business in Bonduel, Wisconsin. Said defendant regularly operates in Illinois and has ICC

    authority to operate in Illinois.

            3.      That the defendant, Ike R. Rose, was in Madison County in the State of

   Illinois at the aforesaid time and was operating a tractor trailer owned, registered and/or

   under the logo or ICC numbers of defendant, HTL.

           4.      That at all times relevant hereto the defendant, Ike R. Rose ("Rose"), was

   acting in the scope of his duties as an employee and/or agent for H'IL.




                                            Page 1 of 14
                                         Cast No.
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            5.      That at the above time and place in Madison County, Illinois the plaintiff

    was operating his motor vehicle in an easterly direction on 1-70 near the Highland, Illinois,

    rest area.

            6.      That at the aforesaid time and place the defendant, Rose, was operating a

   • transport trailer to the rear of plaintiff and other vehicles,

            7.      That at the aforesaid time and place the transport trailer operated by Rose

    bore the following logo/placard "Homan Trucking,LLC"and USDOT 761355.

            8.      That based upon the above the defendant, Rose, owed a duty to plaintiff to

    operate the tractor-trailer with due regard and care for the safety of plaintiff and others

    similarly situated.

            9.      That in violation ofthe aforesaid duty the defendant, Rose,committed one

    or more ofthe following negligent acts or omissions:

                    a)      failed to keep a proper lookout;

                    b)     failed to operate his vehicle at a reasonable speed in violation of625
                          ILCS 5/11-606(a)

                    c)      failed to yield the right of way to plaintiff's vehicle
                            in violation of625 ILCS 5/11-902;

                    d)      failed to keep a proper lookout;

                    e)      drove his automobile in a reckless manner in violation of625
                            ILCS 5/11-503;

                    f)      drove his automobile at a speed which is greater than is
                            reasonable and proper with regard to traffic conditions and the use
                            ofthe highway, or endangers the safety of any person or property
                            in violation of625 ILCS 5/11-601;

                            failed to sound an audible horn warning in violation of625 ILCS
                            5/12-601;




                                               Page 2 of 4
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                    h)     failed to reduce speed to avoid colliding with other vehicles in
                                   violation of625 ILCS 5/11-601;

                    i)     followed too closely the vehicle ofPlaintiff and/or the vehicle in
                           front of him in violation of625 ILICS 5/11-710;

                   j)      engaged in distracting behavior such as using a wireless telephone
                           in or near construction zone in violation of625 ILCS 5/12-610.1(e)
                           and/or texting while driving in violation of625 ILCS 6/12-610.2.


                   k)      operated a motor vehicle which was in such unsafe condition as to
                           endanger the person or property of others in violation of625 ILCS
                           5/12-101; and/or

                    1)     operated a motor vehicle without proper brakes in violation of 625
                           ILCS 5/12-301


            10.    That as a direct and proximate result ofthe above, the vehicle operated by

    Rose collided with the vehicle operated by plaintiff, Gearold R. Stine. Plaintiff there and

    then experienced severe pain, suffering, mental anguish and property damage. Plaintiff

    has incurred and shall continue to iticur medical charges. Plaintiff has lost wages and

    income and such losses continue. Plaintiff suffered loss ofnormal life. Plaintiff's pain and

    suffering continues. Further, Defendants' denial of liability has caused mental stress to

    Plaintiff. Plaintiff's injuries are such that convalescent care may be required in the future.

            WHEREFORE, the plaintiff prays for a Judgment in his favor against the

    defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

    DOLLARS($50,000.00) and for costs ofthis action.

                                             COUNT II

           Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

    defendants, Homan.Trucking, LLC("HTL")and Ike R. Rose, states as follows:




                                             Page 3 of 14
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           1-10. Plaintiff repeats, realleges and incorporates herein by reference Paragraph

    1-10 of Count I as Paragraphs 1-10 ofthis Count.

           11.    That at all times relevant hereto one or both ofthe Defendants were aware

    the truck Rose was operating was in an unsafe condition and that the continued operation

    of that vehicle on interstate highways posed an extreme hazard to the motoring public in

    general.

           12.    That, notwithstandingthe above, Rose continued to operate the truck on the

    interstate highway in a willful and wanton disregard ofthe safety of others. Rose engaged

    in such horrendous act to avoid calling for and incurring the cost of a wrecker and/or to

    avoid the downtime necessary to park the vehicle while awaiting repairs or towing.

    Defendants thereby placed their own concerns and/or the company's financial concerns

    over the safety ofothers in conscious disregard ofthe safety ofthe motoring public. HTL's

    manager(s) were aware ofsuch unsafe conditions.

           WHEREFORE, the plaintiff prays for a Judgment in his favor against the

    defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

    DOLLARS ($50,000.00) and for costs of this action. Plaintiff further seeks punitive

    damages for Defendants' behavior.

                                              COUNT HI

           Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

    defendants, Homan & Company,Inc.,("HCI",) and Ike R. Rose, states as follows:

           1.     That the plaintiff herein Gearold R. Stine, was in Madison County, Illinois,

    on November 16, 2016, when the collision herein occurred.




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            2.      That the defendant,HCI,is a corporation with its principal place of business

    in Marquand, Missouri. Said defendant regularly operates in Illinois and has ICC authority

    to operate in Illinois.

            3.      That the defendant, Ike R. Rose, was in Madison County in the State of

    Illinois at the aforesaid time and was operating a tractor trailer owned, registered and/or

    under the logo or ICC numbers of defendant, HCI.

            4.      That at all times relevant hereto the defendant, Ike R. Rose ("Rose"), was

    acting in the scope of his duties as an employee and/or agent for HCI.

            5.      That at the above time and place in Madison County, Illinois the plaintiff

    was operating his motor vehicle in an easterly direction on 1-70 near the Highland,Illinois,

    rest area.

            6.      That at the aforesaid time and place the defendant, Rose, was operating a

    transport trailer to the rear of plaintiff and other vehicles.

            7.      That at the aforesaid time and place the transport trailer operated by Rose

    bore the following logo/placard "Homan and Company, Inc." and IJSDOT 2225111 and

    MC number MC-360455.

            8.      That based upon the above the defendant, Rose, owed a duty to plaintiff to

    operate the tractor-trailer with due regard and care for the safety of plaintiff and others

    similarly situated.

           9.       That in violation ofthe aforesaid duty the defendant, Rose, committed one

    or more ofthe following negligent acts or omissions:

                    a)        failed to keep a proper lookout;

                    b)        failed to operate his vehicle at a reasonable speed in violation of625
                              ILCS 5/11-606(a)



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                   e)      failed to yield the right of way to plaintiff's vehicle
                           in violation of625 ILCS 5/11-902;

                   d)      failed to keep a proper lookout;

                   e)      drove his automobile in a reckless manner in violation of625
                           ILCS 5/11-503;

                           drove his automobile at a speed which is greater than is
                           reasonable and proper with regard to traffic conditions and the use
                           ofthe highway, or endangers the safety of any person or property
                           in violation of 625 ILCS 5/11-601;

                   g)     failed to sound an audible horn warning in violation of625 ILCS
                          5/12-601;

                          failed to reduce speed to avoid colliding with other vehicles in
                          violation of625,ILCS 5/11-601;

                          followed too closely the vehicle ofPlaintiff and/or the vehicle in
                          front of him in violation of625 ILICS 5/11-710;

                   j)     engaged in distracting behavior such as using a wireless telephone
                          in or near construction zone in violation of625 ILCS 5/12-610.1(e)
                          and/or texting while driving in violation of625 ILCS 6/12-610.2.


                   k)     operated a motor vehicle which was in such unsafe condition as to
                          endanger the person or property of others in violation of 625 ILCS
                          5/12-101; and/or

                          operated a motor vehicle without proper brakes in violation of 625
                          ILCS 5/12-301.


           10.     That as a direct and proximate result of the above, the vehicle operated by

    Rose collided with the vehicle operated by plaintiff, Gearold R. Stine. Plaintiff there and

    then experienced severe pain, suffering, mental anguish and property damage. Plaintiff

    has incurred and shall continue to incur medical charges. Plaintiff has lost wages and

    income and such losses continue. Plaintiffsuffered loss ofnormal life. Plaintiff's pain and




                                             Page 6 of 14
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    suffering continues. Further, Defendants' denial of liability has caused mental stress to

    Plaintiff Plaintiffs injuries are such that convalescent care may be required in the future.

            WHEREFORE, the plaintiff prays for a Judgment in his favor against the

    defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

    DOLLARS ($50,000.00) and for costs of this action.

                                           COUNT IV

           Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

    defendants, Homan & Company,Inc.,("IICI",) and Ike R. Rose, states as follows:

            1-10. Plaintiff repeats, realleges and incorporates herein by reference Paragraph

    1-10 of Count I as Paragraphs 1-10 ofthis Count.

            1 1.   That at all times relevant hereto one or both of the Defendants were aware

    the truck Rose was operating was in an unsafe condition and that the continued operation

    of that vehicle on interstate highways posed an extreme hazard to the motoring public in

    general.

           12.     That, notwithstanding the above, Rose continued to operate the truck on the

    interstate highway in a willful and wanton disregard of the safety of others. Rose engaged

    in such horrendous act to avoid calling for and incurring the cost of a wrecker and/or to

    avoid the downtime necessary to park the vehicle while awaiting repairs or towing.

    Defendants thereby placed their own concerns and/or the company's financial concerns

    over the safety ofothers in conscious disregard of the safety ofthe motoring public. IITL's

    manager(s) were aware of such unsafe conditions.

           WHEREFORE, the plaintiff prays for a Judgment in his favor against the

    defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND




                                            Page 7 of 14
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    DOLLARS ($50,000.00) and for costs of this action, Plaintiff further seeks punitive

    damages for Defendants' behavior.

                                                  COUNT Y

            Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

    defendants, Ike R. Rose and A.B.C.D. Transportation Co., Inc., ("ABCD") states as

    follows:

            1.      That the plaintiff herein Gearold R. Stine, was in Madison County, Illinois,

    on November 16, 2016, when the collision herein occurred.

            2.      That the defendant, ABCD, is a corporation with its principal place of

    business in Marquand, Missouri. Said defendant regularly operates in Illinois and has ICC

    authority to operate in Illinois and employed Ike R. Rose at all relevant times.

            3.      That the defendant, Ike R. Rose, was in Madison County in the State of

    Illinois at the aforesaid time and was operating a tractor trailer owned, registered and/or

    under the logo or ICC numbers of defendant, HCI, while employed by ABCD.

            4.      That at all times relevant hereto the defendant, Ike R. Rose ("Rose"), was

    acting in the scope of his duties as an employee and/or agent for ABCD.

            5.      That at the above time and place in Madison County, Illinois the plaintiff

    was operating his motor vehicle in an easterly direction on 1-70 near the Highland, Illinois,

    rest area.

            6.      That at the aforesaid time and place the defendant, Rose, was operating a

    transport trailer to the rear of plaintiff and other vehicles.




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            7.     That at the aforesaid time and place the transport trailer operated by Rose

    while employed by ABCD bore the following logo/placard "Homan and Company, Inc."

    and USDOT 2225111 and MC number MC-360455.

            8.     That based upon the above the defendant, Rose, owed a duty to plaintiff to

    operate the tractor-trailer with due regard and care for the safety of plaintiff and others

    similarly situated.

           9.      That in violation of the aforesaid duty the defendant, Rose, committed one

    or more ofthe following negligent acts or omissions:

                   a)     failed to keep a proper lookout;

                   b)     failed to operate his vehicle at a reasonable speed in violation of625
                          ILCS 5/11-606(a)

                   c)     failed to yield the right of way to plaintiff's vehicle
                          in violation of625 ILCS 5/11-902;

                   d)     failed to keep a proper lookout;

                   e)     drove his automobile in a reckless manner in violation of625
                          ILCS 5/11-503;

                          drove his automobile at a speed which is greater than is
                          reasonable and proper with regard to traffic conditions and the use
                          ofthe highway, or endangers the safety of any person or property
                          in violation of625 ILCS 5/11-601;

                   g)     failed to sound an audible horn warning in violation of625 ILCS
                          5/12-601;

                   h)     failed to reduce speed to avoid colliding with other vehicles in
                          violation of625 ILCS 5/11-601;

                   )
                   i      followed too closely the vehicle ofPlaintiff and/or the vehicle in
                          front ofhim in violation of625 ILICS 5/11-710;

                  j)      engaged in distracting behavior such as using a wireless telephone
                          in or near construction zone in violation of625 ILCS 5/12-610.1(e)
                          and/or texting while driving in violation of625 ILCS 6/12-610.2.



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                   k)      operated a motor vehicle which was in such unsafe condition as to
                           endanger the person or property of others in violation of625 ILCS
                           5/12-101; and/or

                   )
                   1       operated a motor vehicle without proper brakes in violation of 625
                           ILCS 5/12-301.


            10.    That as a direct and proximate result of the above, the vehicle operated by

    Rose collided with the vehicle operated by plaintiff, Gearold R. Stine. Plaintiff there and

    then experienced severe pain, suffering, mental anguish and property damage. Plaintiff

    has incurred and shall continue to incur medical charges. Plaintiff has lost wages and

    income and such losses continue. Plaintiff suffered loss ofnormal life. Plaintiff's pain and

    suffering continues. Further, Defendants' denial of liability has caused mental stress to

    Plaintiff. Plaintiff's injuries are such that convalescent care may be required in the future.

           WHEREFORE, the plaintiff prays for a Judgment in his favor against the

    defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

    DOLLARS($50,000.00) and for costs of this action.

                                            COUNT VI

           Now comes the plaintiff, Gearold R. Stine, and for his cause of action against the

    defendants, Ike R. Rose and A.B.C.D. Transportation Co., Inc., ("ABCD") states as

    follows:

            1.     That the plaintiff herein Gearold R. Stine, was in Madison County, Illinois,

    on November 16, 2016, when the collision herein occurred.




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            2.      That the defendant, ABCD, is a corporation with its principal place of

     business in Marquand, Missouri. Said defendant regularly operates in Illinois and has ICC

    authority to operate in Illinois and employed Ike R. Rose at all relevant times.

            3.      That the defendant, Ike R. Rose, was in Madison County in the State of

    Illinois at the aforesaid time and was operating a tractor trailer owned, registered and/or

    under the logo or ICC numbers of defendant, IICI, while employed by ABCD.

            4.      That at all times relevant hereto the defendant, Ike R. Rose ("Rose"), was

    acting in the scope of his duties as an employee and/or agent for ABCD.

            5.      That at the above time and place in Madison County, Illinois the plaintiff

    was operating his motor vehicle in an easterly direction on 1-70 near the Highland, Illinois,

    rest area.

            6.      That at the aforesaid time and place the defendant, Rose, was operating a

    transport trailer to the rear ofplaintiff and other vehicles.

            7.      That at the aforesaid time and place the transport trailer operated by Rose

    while employed by ABCD bore the following logo/placard "Homan and Company, Inc."

    and USDOT 2225111 and MC number MC-360455.

            8.      That based upon the above the defendant, Rose, owed a duty to plaintiff to

    operate the tractor-trailer with due regard and care for the safety of plaintiff and others

    similarly situated.

            9.      That in violation of the aforesaid duty the defendant, Rose, committed one

    or more of the following negligent acts or omissions:

                   a)      failed to keep a proper lookout;

                    b)     failed to operate his vehicle at a reasonable speed in violation of625
                           ILLS 5/11-606(a)




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                  c)      failed to yield the right of way to plaintiff's vehicle
                          in violation of625 ILCS 5/11-902;

                  d)      failed to keep a proper lookout;

                  e)      drove his automobile in a reckless manner in violationof625
                          ILLS 5/11-503;

                  fj      drove his automobile at a speed which is greater than is
                          reasonable and proper with regard to traffic conditions and the'use
                          ofthe highway, or endangers the safety of any person or property
                          in violation of625 ILCS 5/11-601;

                  g)      failed to sound an audible horn warning in violation of 625 ILCS
                          5/12-601;

                          failed to reduce speed to avoid colliding with other vehicles in
                          violation of625 ILCS 5/1 1-601;

                  1)      followed too closely the vehicle ofPlaintiff and/or the vehicle in
                          front of him in violation of625 ILICS 5/11-710;

                  j)      engaged in distracting behavior such as using a wireless telephone
                          in or near construction zone in violation of625 ILCS 5/12-610.1(e)
                          and/or texting while driving in violation of625 ILCS 6/12-610.2.


                  k)      operated a motor vehicle which was in such unsafe condition as to
                          endanger the person or property of others in violation of625 ILCS
                          5/12-101; and/or

                  1)      operated a motor vehicle without proper brakes in violation of 625
                          ILCS 5/12-301.


           10.    That as a direct and proximate result ofthe above, the vehicle operated by

   Rose collided with the vehicle operated by plaintiff, Gearold R. Stine. Plaintiff there and

   then experienced severe pain, suffering, mental anguish and property damage. Plaintiff

   has incurred and shall continue to incur medical charges. Plaintiff has lost wages and

   income and such losses continue. Plaintiff suffered loss of normal life. Plaintiffs pain and




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    suffering continues. Further, Defendants' denial of liability has caused mental stress to

    Plaintiff. Plaintiff's injuries are such that convalescent care may be required in the future.

            11.    That at all times relevant hereto one or both of the Defendants were aware

    the truck Rose was operating was in an unsafe condition and that the continued operation

    of that vehicle on interstate highways posed an extreme hazard to the motoring public in

    general.

            12.    That, notwithstanding the above,Rose continued to operate the truck on the

    interstate highway in a willful and wanton disregard of the safety of others. Rose engaged

    in such horrendous act to avoid calling for and incurring the cost of a wrecker and/or to

    avoid the downtime necessary to park the vehicle while awaiting repairs or towing.

    Defendants thereby placed their own concerns and/or the company's financial concerns

    over the safety of others in conscious disregard ofthe safety ofthe motoring public. FITL's

    manager(s) were aware of such unsafe conditions.

            WHEREFORE, the plaintiff prays for a Judgment in his favor against the

    defendants, jointly and severely, for an amount in excess of FIFTY THOUSAND

    DOLLARS ($50,000.00) and for costs of this action. Plaintiff further seeks punitive

    damages for Defendants' behavior.



                                                   Respectfully Submitted,

                                                   WENDLER LAW,P.C.



                                           By:

                                                   Brian M. Wendler #06196124
                                                   Angie M. Zinzilieta #6322894




                                             Page 13 of 14
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 58 of 67 Page ID #63



                                      Paul E.H. Rademacher #6324529
                                      900 Hillsboro, Suite 10
                                      Edwardsville, IL 62025
                                      Ph:(618)692-0011
                                      Fax:(618)692-0022
                                      Email: wendlerlaw0c(c-Omail.com




                                Page 14 of 4
          Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 59 of 67 Page ID #64
                                                                                                                                                   ***EFiLED*"*
                                                                                                                             Case Number 2018L 001331
                                                            AFFIDAVIT OF SERVICE                                                Date: 11121/2019 1:49 PM
                                                                                                                                                Mark Von Nide
                                                                                                                                 •-•--W-141+11%-tli-Wlf.1 dt Court
 Case:       J Court                                                      County:                 I job:  Third Judicial Circuit, Madison Coun y Illinois
 2018L       I in the Circuit Court of The Third Judicial Circuit         Madison, IL             1 2733543(2018L001331)
 001331      ( Madison County IL                                                               I
  Plaintiff / Petitioner:                                                 Defendant/ Respondent
  Gearoiri R Stine                                                        Homan Trucking, LLC and Ike R Rose
  Received by:                                                            For:
  Always Available Services LLC                                           Wendler Law, PC
 To be served upon:
 Ike R Rose

I,Jim Frago, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the boundaries
of the state where service was effected, I was authorized by law to make service of the documents and informed said person of the
contents herein

Recipient Name / Address: Karen Rose, Home: 1011 Madison 239, Marquand, MO 63655
Manner of Service:              Substitute Service - Personal, Oct 23, 2018, 4:19 pm CDT
Documents:                      Summons and Complaint(Received Oct 16, 2018 at 12:00am CDT)

Additional Comments:
1)Unsuccessful Attempt: Oct 18, 2018, 9:40 am CDT at Home: 1011 Madison 239, Marquand, MO 63655
This is a rental house. The current resident says Ike Rose was the former resident. Last she heard Ike moved to Perryville,

2)Successful Attempt: Oct 23, 2018, 4:19 pm CDT at Home: 1011 Madison 239, Marquand, MO 63655 received by Karen Rose, Age: 50;
Ethnicity: Caucasian; Gender. Female; Weight: 150; Height; 6'; Hair: Blond; Relationship: Co Occupant;

                                                                           Subscribed and sworn to before me by the affiantwhn is
                                                                           personally known to me.



                                                                           Notary VubliC

Always Available Services LLC                                              Date                   Commission Expires
PO Box 764
Farmington, MO 63640                                                                                                        4.1"A"~"
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Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 60 of 67 Page ID #65




                                  IN THE CIRCUIT COURT
                                 THIRD JUDICIAL CIRCUIT
                                MADISON COUNTY,ILLINOIS

 GEAROLD R.STINE                )
                                )
       Plaintiff,               )
                                )
 vs.                            )                     Case No.2018-L-1331
                                )
 HOMAN TRUCKING,LLC,            )
 IKE R.ROSE,                    )
 HOMAN & COMPANY,INC. and       )
 A.B.C.D. TRANSPORTATION CO.,INC.)
                                )
       Defendants.              )

                                            SUMMONS

 To the defendant: HOMAN & COMPANY,INC., c/o Danny L. Homan,401 East Murta,P.O.
 Box 222, Marquand, Missouri 63655.

 YOU ARE SUMMONED and required to file an answer in this case, or otherwise file your

 appearance, in the office ofthe clerk of this court MADISON COUNTY,EDWARDSVILLE,

 Illinois, within 30 days after service of this summons, not counting the day of service. IF YOU
 FAIL TO DO SO, A JUDGMENT OR DECREE BY DEFAULT MAY BE TAKEN
 AGAINST YOU FOR THE RELIEF ASKED IN THE COMPLAINT.

 To the officer:

         This summons must be returned by the officer or other persons to whom it was given for
 service, with indorsement of service and fees, if any,immediately after service. If service cannot
 be made           mons shall be returned so indorsed. This summons may not be served later
 tha                  date.

                                          WITNESS                 1 1/27/2018           ,20
                                                                   Is/ Mark Von Nida
                                                                     Clerk of Court
                                                                /s/ Mitchell Baird
                                                              Associate Circuit Clerk-Deputy
Name:              endier
Attorney for: Gearold R. Stine II
Address: 900 Hillsboro Ave., Suite 10
City: Edwardsville
Telephone: 618-692-0011
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 61 of 67 Page ID #66




                               Date of Service:                                         , 20
                           (To be inserted by officer on copy left with defendant or other person)

                                        SHERIFF'S FEES

                     Service and return
                     Miles
                     Total
                                      Sheriff of                       County
        I certify that I served this summons on defendants as follows:

   (a) -(Individual defendants - personal):
    By leaving a copy ofthe,complaint with each individual defendant personally, as follows:
                      Name of Defendant                          Date of Service




    (b) - (Individual Defendants- abode):
     By leaving a copy and a copy ofthe complaint at the usual place of abode ofeach individual
 defendant with a person ofthe family, or a person residing there, ofthe age of 13 years or
 upwards, informing that person ofthe contents ofthe summons, and also by sending a copy of
 the summons and ofthe complaint in a sealed envelope with postage fully prepaid, addressed to
 each individual defendant at his or her usual place of abode, as follows:
                Name of Defendant Person W/ Whom Left                    Date of Service    Date of
                Mailing




    (c) - (Individual Defendants- Personal):
     By leaving a copy and a copy ofthe complaint with the registered agent, officer or agent,
 officer or agent of each defendant corporation, as follows:
         Defendant Corporation                Registered Agent, Officer or Agent       Date of
         Service
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 62 of 67 Page ID #67




   (d)- (Other Service):

                                   Sheriff of                      County

                    By                             , Deputy
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 63 of 67 Page ID #68




                                   IN THE CIRCUIT COURT
                                  THIRD JUDICIAL CIRCUIT
                                 MADISON COUNTY,ILLINOIS

 GEAROLD R.STINE                )
                                )
       Plaintiff,               )
                                )
 vs.                            )                      Case No. 2018-L-1331.
                                )
 HOMAN TRUCKING,LLC,            )
 IKE R.ROSE,                    )
 HOMAN & COMPANY,INC.and        )
 A.B.C.D. TRANSPORTATION CO.,INC.)
                                )
       Defendants.              )

                                            SUMMONS

 To the defendant: A.B.C.D. TRANSPORTATION CO.,INC., c/o Dustin Homan, 105 Pickney
 Street, P.O. Box 21, Marquand, Missouri 63655.

 YOU ARE SUMMONED and required to file an answer in this case, or otherwise file your

 appearance, in the office ofthe clerk ofthis court MADISON COUNTY,EDWARDSVILLE,

 Illinois, within 30 days after service of this summons, not counting the day ofservice. IF YOU
 FAIL TO DO SO,A JUDGMENT OR DECREE BY DEFAULT MAY BE TAKEN
 AGAINST YOU FOR THE RELIEF ASKED IN THE COMPLAINT.

 To the officer:

        This summons must be returned by the officer or other persons to whom it was given for
 service, with indorsement of service and fees, if any, immediately after service. If service cannot
 be made,this summons shall be returned so indorsed. This summons may not be served later
 than 30 +k isafter its date.

                                           WITNESS                   1 1/27/2018         , 20
                                                                    /si Mark Von Nida
                                                                      Clerk of Court
                                                                 Is/ Mitchell Baird
                                                              Associate Circuit Clerk-Deputy
                      dier
 Atto             Told R. Stine II
 Address: 900 Hillsboro Ave., Suite 10
 City: Edwardsville
 Telephone: 618-692-001 1
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 64 of 67 Page ID #69




                               Date of Service:                                         ,20
                           (To be inserted by officer on copy left with defendant or other person)

                                        SHERIFF'S FEES

                     Service and return
                      Miles
                     Total
                                      Sheriff of                       County
        I certify that I served this summons on defendants as follows:

    (a) - (Individual defendants - personal):
     By leaving a copy ofthe complaint with each individual defendant personally, as follows:
                        Name of Defendant                         Date of Service




    (b) - (Individual Defendants- abode):
     By leaving a copy and a copy ofthe complaint at the usual place of abode of each individual
 defendant with a person ofthe family, or a person residing there, ofthe age of 13 years or
 upwards, informing that person ofthe contents ofthe summons, and also by sending a copy of
 the summons and ofthe complaint in a sealed envelope with postage fully prepaid, addressed to
 each individual defendant at his or her usual place of abode, as follows:
                Name of Defendant Person W/ Whom Left                    Date of Service    Date of
                Mailing




    (c) - (Individual Defendants- Personal):
     By leaving a copy and a copy of the complaint with the registered agent, officer or agent,
 officer or agent of each defendant corporation, as follows:
         Defendant Corporation                Registered Agent, Officer or Agent        Date of
         Service
Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 65 of 67 Page ID #70




   (d)-(Other Service):

                                 , Sheriff of                      County

                   By                              , Deputy
           Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 66 of 67 Page ID #71
                                                                                                                                             ***EFILED***
                                                                                                                                Case Number 2018L 001331
                                                                                                                                  Date: 11129/2018 4:05 PM
                                                           AFFIDAVIT OF SERVICE
                                                                                                                                            Mark Von Nida

 Case:        Court                                                    County:                   1 Job:    Third Judicial Circuit, Madison Co ty Illinois
 2018-L-      In The Circuit Court of The Third Judicial Circuit       Madison, IL                 2849650(2018-L-1331)
 1331         Madison County IL                                                                  I

  Plaintiff/ Petitioner:                                               Defendant/ Respondent:
  Gearold R. Stine                                                     Homan Trucking, LLC, Ike R. Rose, Homan & Company, `nc and
                                                                       A.B.C.D. Transportation Co., Inc.
 Received by:.                                                         For:
 Always Available Services LLC                                         Wendier Lavv, PC
 To be served upon:
 Homan & Company,Inc., do Danny L. Homan

I,Jim Frago, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the boundaries
of the state where service was effected, I was authorized by law to make service of the documents and Informed said person of the
contents herein

Recipient Name / Address: Belinda Weekly, Pickney Street, Marquand , Mo
Manner of Service:        Substitute Service - Business, Nov 29, 2018; 10:55 am CST
Documents:                      Summons and Complaint(Received Nov 28, 2018 at 12:00am CST)

Additional Comments:
1)Successful Attempt: Nov 29, 2018, 10:55 am CST at Pickney Street, Marquand Mo received by Belinda Weekly. Age:35; Ethnicity:
Caucasian; Gender: Female; Weight: 180; Height: 5.8"; Hair. Blond; Relationship: Office Manager;

                                                                        Subscribed and sworn to before me by the ofant who is
                                                                        personally known to me.




Always Available Services LLC
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                                                                        Notary Public


                                                                        Date
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PO Box 764
Farmington, MO 63640
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                                                                                  Comm  ission Expires   June 27, 2020
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           Case 3:18-cv-02202-JPG Document 1-1 Filed 12/21/18 Page 67 of 67 Page ID #72
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                                                                                                                            Case Number 2018L 001331
                                                           AFFIDAVIT OF SERVICE                                                Date: 11/2912018 4:05 PM
                                                                                                                                              Mark Von Nida
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 Case;        Court                                                    County:                   Job:    Third Judicial Circuit, Madison Coil nty Illinois
 2018-L-      In The Circuit Court of The Third Judicial Circuit       Madison, IL               2849659(201&L-1331)
 1331         Madison County IL
 Plaintiff / Petitioner:                                               Defendant I Respondent
 Gearold R. Stine                                                      Homan Trucking, LLC, Ike R. Rose, Homan & Company, Inc, and
                                                                       A.B.C.D. Transportation Co., Inc.
 Received by:                                                          For:
 Always Available Services LLC                                         Wendler Law, PC
 To be served upon:
 A.B,C,D. Transportation Co., Inc„ clo Dustin L, Homan

I,Jim Frago, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the boundaries
of the state where service was effected, I was authorized by law to make service of the documents and Informed said person of the
contents herein

Recipient Name / Address: Belinda Weekly, Home: 105 Pickney Street P.O. Box 21, Marquand, MO 63655
Manner of Service:        Substitute Service - Business, Nov 29, 2018, 10:47 am CST
Documents:                Summons    and Complaint(Received Nov 28, 2018 at 12:00am CST)

Additional Comments:
1)Successful Attempt: Nov 29, 2018, 10:47 am CST at Home: 105 Pickney Street P.O. Box 21, Marquand, MO 63655 received by Belinda
Weekly. Age: 35; Ethnicity: Caucasian; Gender: Female; Weight: 180; Height: 5'6"; Hair: Blond; Relationship: Office Manager;

                                                                         Subscribed and sworn to before me by the Vain who Is
                                                                         personally known to me.


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Always Available Services LLC.                                             lel 1
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PO Box 764
Farmington, MO 63640


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